Case: 4:22-cv-00191-MTS Doc. #: 19-29 Filed: 03/15/22 Page: 1 of 3 PageID #: 960




                                     Declaration of D.L.
                                (Pursuant to 28 U.S.C. § 1746)

      I, D.L., hereby declare and state as follows:

   1. I am a resident of St. Charles County, Missouri. I have personal knowledge of the facts

      set forth in this declaration and could and would testify competently to those facts if

      called as a witness.

   2. I am 17 years old.

   3. I am currently a senior student at Holt High School in the Wentzville R-IV School

      District.

   4. I am interested in reading all of the following books, which I understand were previously

      available at my school library prior to being banned by the District: The Bluest Eye, by

      Toni Morrison; Fun Home: A Family Tragicomic Paperback, by Alison Bechdel; All

      Boys Aren’t Blue, by George M. Johnson; Heavy: An American Memoir, by Kiese

      Laymon; Lawn Boy, by Jonathan Evison; Gabi, A Girl in Pieces, by Isabel Quintero;

      Modern Romance, by Aziz Ansari; and Invisible Girl, by Lisa Jewell (the “Banned

      Books”).

   5. I recently checked out Gabi, A Girl in Pieces, from the library. I was not able to check it

      out while it was under review because it had been removed from the library during that

      time. I want to check out other books that have been challenged and banned but I cannot

      at this time because books are removed as soon as they are under review, even before

      they are formally banned.

   6. The library allows students to check out only two books at one time and I often have

      books checked out for my classwork.




                                                                                Exhibit 36
Case: 4:22-cv-00191-MTS Doc. #: 19-29 Filed: 03/15/22 Page: 2 of 3 PageID #: 961




   7. I was a student at Holt High when the Banned Books were removed from library access

      and will continue to attend Holt High for the remainder of the school year.

   8. I will graduate from Holt High.

   9. I have attended Wentzville public schools since I was in kindergarten.

   10. I frequently use my school library and its resources.

   11. Throughout high school, I have taken classes that require me to use the school library and

      check out books.

   12. I am currently enrolled in an English class that requires me to read books from the school

      library.

   13. I currently have two books checked out from the school library, which must be renewed

      every couple of weeks.

   14. The library often promotes books and authors to students for various reasons, introducing

      students to viewpoints and authors that students may not previously be familiar with. For

      example, they promoted specific authors and books for Black History Month.

   15. I disagree with removal of the Banned Books from school libraries.

   16. It is important to me to be able to learn about different perspectives at school, including

      hearing from diverse voices on challenging issues like race, gender, and sexuality.

   17. I believe that removal of the Banned Books from school libraries will prevent me from

      learning about a variety of experiences and views.

   18. I am concerned that I will be stigmatized by others in the District and community if I

      engage with the kinds of ideas and subject matter that are present in the Banned Books

      because of the District and some community members’ positions that the content and




                                                 2

                                                                                 Exhibit 36
Case: 4:22-cv-00191-MTS Doc. #: 19-29 Filed: 03/15/22 Page: 3 of 3 PageID #: 962




       viewpoints in the Banned Books should not be read or engaged with by me and other

       students.

   19. I am aware other students who would also like to read the Banned Books and disagree

       with their removal.


I declare under penalty of perjury that the foregoing is true and correct.

Executed on March 14, 2022.                           _/s/ D.L.________________________
                                                      D.L.
                                                      St. Charles County, Missouri




                                                  3

                                                                             Exhibit 36
